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  10
                    UNITED STATES DISTRICT COURT FOR THE
  11                   CENTRAL DISTRICT OF CALIFORNIA
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  14   Jose Luis CRUZ MORA; Gloria DIXON;            Case No. ____________
       Lehmber SINGH; Sukhwinder SINGH;
  15   Mohammad ZAVAREHI TABATABAI;
  16   and Partap SINGH.                             Complaint Under the
                                                     Freedom of Information
  17         Plaintiffs,                             Act
  18
                    v.
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  20   EXECUTIVE OFFICE FOR IMMIGRATION
       REVIEW, an agency of the Department of
  21   Justice.
  22
            Defendant.
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  1                                 INTRODUCTION
  2          1.     Plaintiffs are eight individuals residing in the Central District of
  3    California who require copies of their files from the Executive Office for
  4    Immigration Review in order to make decisions about their immigration matters or
  5    in order to prepare for upcoming immigration hearings. They have all filed requests
  6    for these records under the Freedom of Information Act, and EOIR has not issued
  7    its response within 20 business days, in violation of law.
  8          2.    Plaintiffs all require access to their immigration records in order to
  9    make important, potentially life-altering decisions. There is a public interest in
 10    compelling a federal agency to comply with FOIA requirements, particularly in a
 11    setting where denial of the information has an adverse impact on the plaintiffs’
 12    ability to protect their interests in their immigration cases. See Mayock v. I.N.S.,
 13    736 F. Supp. 1561, 1564 (N.D. Cal. 1990). Compelling compliance with FOIA
 14    works to preserve the legitimacy and integrity of immigration proceedings. See
 15    Gahagan v. United States Customs & Border Prot., No. CV 14-2619, 2016 WL
 16    3090216, at *10 (E.D. La. June 2, 2016).
 17

 18                          JURISDICTION AND VENUE
 19          3.    This Court has jurisdiction under the FOIA, 5 U.S.C. § 552(a)(4)(B),
 20    and 28 U.S.C. §§ 1331 (federal question).
 21          4.    The Freedom of Information Act provides for an original action in
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       district court if an agency fails to issue a determination to a request within 20
 23
       business days. “If the agency does not make a ‘determination’ within the relevant
 24
       statutory time period, the requester may file suit without exhausting administrative
 25
       appeal remedies.” Brown v. U.S. Customs & Border Prot., 132 F. Supp. 3d 1170,
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       1172 (N.D. Cal. 2015) citing Citizens for Responsibility and Ethics in Wash. v.
 27
       Fed. Election Comm'n, 711 F.3d 180, 185 (D.C.Cir.2013).
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  1            5.   Venue is proper under 28 U.S.C. § 1391(e)(1) because this is a civil
  2    action in which Defendant is the Executive Office for Immigration Review, a
  3    federal agency; because Plaintiffs reside in this judicial district; and there is no real
  4    property involved in this action.
  5

  6                                        PARTIES
  7            6.   Plaintiff Jose Luis Cruz Mora is a citizen of Mexico who resides in
  8    Hawthorne, California. He filed her FOIA request with EOIR on December 8,
  9    2021.
 10            7.   Plaintiff Gloria Dixon is a citizen of El Salvador who resides in Reseda,
 11    California. She filed her FOIA request with EOIR on February 3, 2022.
 12            8.   Plaintiff Lehmber Singh is a citizen of India who resides in Riverside,
 13    California. He filed his FOIA request with EOIR on November 8, 2021.
 14            9.   Plaintiff Sukhwinder Singh is a citizen of India who resides in Fontana,
 15    California. He filed his FOIA request with EOIR on February 17, 2022.
 16            10. Plaintiff Mohammad Zavarehi Tabatabai is a citizen of Iran who
 17    resides in Huntington Beach, California. He filed his FOIA request with EOIR on
 18    January 21, 2022.
 19            11. Plaintiff Partap Singh is a citizen of India who resides in Hawthorne,
 20    California. He filed his FOIA request with EOIR on December 14, 2021.
 21            12. Defendant Executive Office for Immigration Review (“EOIR”) is an
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       agency within the Department of Justice and encompasses the Immigration Courts
 23
       and Board of Immigration Appeals.
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                               FACTUAL ALLEGATIONS
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               13. Plaintiff Jose Luis Cruz Mora requires a copy of the record of
 27
       proceedings of his immigration case because he seeks to reinstate his case before
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  1    the Ninth Circuit, which was dismissed for lack of prosecution, but he is unable to
  2    obtain his removal history without the immigration court records. He filed a FOIA
  3    request, through counsel, with EOIR on December 8, 2021. EOIR issued a receipt
  4    and assigned his request case number #2022-14259, but has not issued any
  5    response to his request. More than 20 business days have elapsed since Plaintiff
  6    Jose Luis Cruz Mora submitted his FOIA request to EOIR.
  7          14. Plaintiff Gloria Dixon requires a copy of her files from EOIR in order
  8    to make decisions about pursuing naturalization to become a United States citizen.
  9    She filed her FOIA request, through counsel, with EOIR on February 3, 2022.
 10    EOIR issued a receipt and assigned her request case number 2022-22517, but has
 11    not issued any response to her request. More than 20 business days have elapsed
 12    since Plaintiff Gloria Dixon submitted her FOIA request to EOIR.
 13          15. Plaintiff Lehmber Singh requires a copy of his files from EOIR in order
 14    to make decisions about pursuing naturalization. He filed his FOIA request, through
 15    counsel, with EOIR on January 19, 2022. EOIR issued a receipt and assigned his
 16    request case number 2022-20044, but has not issued any response to his request.
 17    More than 20 business days have elapsed since Plaintiff Lehmber Singh submitted
 18    his FOIA request.
 19          16. Plaintiff Sukhwinder Singh requires a copy of his filed From EOIR in
 20    order to determine his eligibility to seek lawful permanent residency. He filed his
 21    FOIA request, through counsel, with EOIR on February 17, 2022. EOIR issued a
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       receipt and assigned his request case number 2022-24562, but has not issued any
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       response to his request. More than 20 business days have elapsed since Plaintiff
 24
       Lehmber Singh submitted his FOIA request.
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             17. Plaintiff Mohammad Zavarehi Tabatabai requires a copy of his files
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       from EOIR because he is currently in removal proceedings before an immigration
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       judge in Santa Ana, California, and requires the file to defend against removal to
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  1    Iran. He filed his FOIA request, through counsel, with EOIR on January 21, 2022.
  2    EOIR issued a receipt and assigned his request case number 2022-20388, but has
  3    not issued any response to his request. More than 20 business days have elapsed
  4    since Plaintiff Mohammad Zavarehi Tabatabai submitted his FOIA request
  5          18. Plaintiff Partap Singh requires a copy of his EOIR files because he is
  6    trying to bring his son to the United States based on his relationship with his United
  7    States citizen wife, and the Department of Homeland Security contests the validity
  8    of that marriage. Since his permanent resident status was granted in immigration
  9    court, he requires copies of the immigration court file to defend his son’s case. He
 10    filed his FOIA request with EOIR, through his attorney, on December 14, 2021.
 11    EOIR issued a receipt and assigned his request case number 2022-15427, but has
 12    not issued any response to his request. More than 20 business days have elapsed
 13    since Plaintiff Partap Singh submitted his FOIA request.
 14

 15                                    CAUSE OF ACTION
 16                                       COUNT ONE
 17
                                 (Freedom of Information Act)
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                19. Plaintiffs incorporate the allegations in the paragraphs above as though
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         fully set forth here.
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                20. Defendant has unlawfully withheld records requested by Plaintiffs
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         pursuant to 5 U.S.C. § 552.
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                21. An agency is required to issue a determination in response to a FOIA
 23
         request within 20 business days. 5 U.S.C. § 552(a)(6)(A)(i).
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                22. Defendant has violated the FOIA statute because more than twenty
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         business days have elapsed since Plaintiffs’ FOIA requests without a
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         determination.
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                23. Delay by an agency in responding to a FOIA request is tantamount to a
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  1      denial. Gilmore v. U.S. Dep't of Energy, 33 F.Supp.2d 1184, 1187
  2      (N.D.Cal.1998).
  3            24. An agency's “failure to respond to a FOIA request within the statutory
  4      time limits violates FOIA and allows the aggrieved party to sue.” Brown v. U.S.
  5      Customs & Border Prot., 132 F. Supp. 3d 1170, 1173 (N.D. Cal. 2015).
  6

  7                                  PRAYER FOR RELIEF
  8

  9    WHEREFORE, Plaintiffs pray that this Court grant the following relief:
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                   (1)     Assume jurisdiction over this matter;
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                   (2)     Order Defendant to produce the records requested by
 12
                           Plaintiffs;
 13
                   (3)     Award reasonable costs and attorneys’ fees; and
 14
                   (4)     Grant such further relief as the Court deems just and
 15
                           proper.
 16

 17    Dated: May 19, 2022                    Respectfully submitted,
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